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                       UNITED STATES DISTRICT COURT FOR THE
                           SOUTHERN DISTRICT OF FLORIDA
                                  MIAMI DIVISION
                               CASE NO. 22-cv-24022-BB

 DONGGUAN TESMAI ELECTRONIC
 TECHNOLOGY CO., LTD,

  Plaintiff,

  v.

  THE INDIVIDUALS, PARTNERSHIPS AND
  UNINCORPORATED ASSOCIATIONS IDENTIFIED
  ON SCHEDULE “A”,

  Defendants.
  _________________________________________________/

 NOTICE OF VOLUNTARY DISMISSAL AS TO CERTAIN DEFENDANTS ONLY


         PLEASE TAKE NOTICE, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i) and by

 undersigned counsel, Plaintiff hereby voluntarily dismisses without prejudice all claims

 against the following Defendants:

         theosales79 (Defendant No. 151 on Schedule “A” to the Complaint)

         kuahor-14 (Defendant No. 153 on Schedule “A” to the Complaint)

         aplusinc (Defendant No. 155 on Schedule “A” to the Complaint)

         visionsseenclearlymarketing (Defendant No. 157 on Schedule “A” to the Complaint)

         onlyseven-2008 (Defendant No. 162 on Schedule “A” to the Complaint)

         Mount Bear Workshop (Defendant No. 166 on Schedule “A” to the Complaint)

         cor7421 (Defendant No. 167 on Schedule “A” to the Complaint)

         qnicham_0 (Defendant No. 168 on Schedule “A” to the Complaint)

         zekarobi-0 (Defendant No. 169 on Schedule “A” to the Complaint)


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       uscommercestore (Defendant No. 170 on Schedule “A” to the Complaint)

       I.A.F.F STORE (Defendant No. 173 on Schedule “A” to the Complaint)

       Home Decor By Jonco (Defendant No. 176 on Schedule “A” to the Complaint)

       LondonGifts4U (Defendant No. 177 on Schedule “A” to the Complaint)

       faalmu-2 (Defendant No. 179 on Schedule “A” to the Complaint)

       ericy23 (Defendant No. 180 on Schedule “A” to the Complaint)

       Teddy House (Defendant No. 185 on Schedule “A” to the Complaint)

       tyranekmino0 (Defendant No. 186 on Schedule “A” to the Complaint)

       B4ItsGone Shopping (Defendant No. 188 on Schedule “A” to the Complaint)

       lvdeals247 (Defendant No. 192 on Schedule “A” to the Complaint)

       Danie's Delights (Defendant No. 193 on Schedule “A” to the Complaint)

       3.2.1 USA Store (Defendant No. 194 on Schedule “A” to the Complaint)

       RomKidShop (Defendant No. 195 on Schedule “A” to the Complaint)

       Avionics Masters (Defendant No. 196 on Schedule “A” to the Complaint)

       Kay B Express (Defendant No. 198 on Schedule “A” to the Complaint)

       everydayideas (Defendant No. 201 on Schedule “A” to the Complaint)

       lilysliquidations (Defendant No. 212 on Schedule “A” to the Complaint)

       shonti_shop (Defendant No. 214 on Schedule “A” to the Complaint)

       bonitatienda (Defendant No. 215 on Schedule “A” to the Complaint)

       aambrozis (Defendant No. 237 on Schedule “A” to the Complaint)

       ablesupplies (Defendant No. 238 on Schedule “A” to the Complaint)

       ahausom (Defendant No. 243 on Schedule “A” to the Complaint)

       applecheek (Defendant No. 245 on Schedule “A” to the Complaint)



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       beginbuy_1111 (Defendant No. 248 on Schedule “A” to the Complaint)

       braus.fczctw9uf (Defendant No. 253 on Schedule “A” to the Complaint)

       buyhotitemscheap (Defendant No. 254 on Schedule “A” to the Complaint)

       campingbuddy (Defendant No. 255 on Schedule “A” to the Complaint)

       casshforyou (Defendant No. 257 on Schedule “A” to the Complaint)

       centricogeneral (Defendant No. 258 on Schedule “A” to the Complaint)

       cheadeshiel_0 (Defendant No. 259 on Schedule “A” to the Complaint)

       edrick4384 (Defendant No. 265 on Schedule “A” to the Complaint)

       elizcrone88 (Defendant No. 267 on Schedule “A” to the Complaint)

       ellaboutique0218 (Defendant No. 268 on Schedule “A” to the Complaint)

       everydaygadgetz (Defendant No. 270 on Schedule “A” to the Complaint)

       gavins7692 (Defendant No. 277 on Schedule “A” to the Complaint)

       ggilrane626 (Defendant No. 278 on Schedule “A” to the Complaint)

       hayleyjen-94 (Defendant No. 281 on Schedule “A” to the Complaint)

       toretaili (Defendant No. 285 on Schedule “A” to the Complaint)

       jorodr5325 (Defendant No. 295 on Schedule “A” to the Complaint)

       kissie_rodz (Defendant No. 300 on Schedule “A” to the Complaint)

       laqjoh69 (Defendant No. 305 on Schedule “A” to the Complaint)

       laralobos (Defendant No. 306 on Schedule “A” to the Complaint)

       lesim-497505 (Defendant No. 308 on Schedule “A” to the Complaint)

       linycetees (Defendant No. 310 on Schedule “A” to the Complaint)

       mglassstore (Defendant No. 313 on Schedule “A” to the Complaint)

       maxlongis-74 (Defendant No. 314 on Schedule “A” to the Complaint)



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        mickylebarrett41 (Defendant No. 316 on Schedule “A” to the Complaint)

        natri_5881 (Defendant No. 321 on Schedule “A” to the Complaint)

        newyorkers2018 (Defendant No. 322 on Schedule “A” to the Complaint)

        ottostore (Defendant No. 324 on Schedule “A” to the Complaint)

        peakyblindah (Defendant No. 326 on Schedule “A” to the Complaint)

        pesimo_48 (Defendant No. 327 on Schedule “A” to the Complaint)

        peyry_47 (Defendant No. 328 on Schedule “A” to the Complaint)

        philgood4life (Defendant No. 329 on Schedule “A” to the Complaint)

        qayssar1 (Defendant No. 334 on Schedule “A” to the Complaint)

        rebwhi4024 (Defendant No. 338 on Schedule “A” to the Complaint)

        rideksshop (Defendant No. 340 on Schedule “A” to the Complaint)

        rscotty16 (Defendant No. 341 on Schedule “A” to the Complaint)

        saleh1992 (Defendant No. 342 on Schedule “A” to the Complaint)

        salesystemswarriors (Defendant No. 343 on Schedule “A” to the Complaint)

        westbf78 (Defendant No. 344 on Schedule “A” to the Complaint)

        securityvision24 (Defendant No. 346 on Schedule “A” to the Complaint)

        seeitwesell2 (Defendant No. 347 on Schedule “A” to the Complaint)

        sell4sale (Defendant No. 348 on Schedule “A” to the Complaint)

        sergitsurkano_0 (Defendant No. 349 on Schedule “A” to the Complaint)

        shpro-38 (Defendant No. 352 on Schedule “A” to the Complaint)

        sofilee-ecommerce (Defendant No. 359 on Schedule “A” to the Complaint)

 Respectfully submitted on this 21st day of January, 2023.

                                              LAW FIRM OF RUBIO & ASSOCIATES, P.A.
                                              Attorneys for Plaintiff

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